                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )         MATTICE/CARTER
                                              )
        v.                                    )         CASE NO. 1:14-CR-28
                                              )
 ROBERT WARE                                  )



                                            ORDER

        On February 10, 2015, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Count

 Seventeen of the Indictment in exchange for the undertakings made by the government in the

 written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count

 Seventeen of the Indictment; (c) that a decision on whether to accept the plea agreement be

 deferred until sentencing; and (d) Defendant shall remain in custody pending sentencing in this

 matter (Doc. 123). Neither party filed an objection within the given fourteen days. After

 reviewing the record, the Court agrees with the magistrate judge=s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s report and

 recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to Count Seventeen of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count Seventeen of

 the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and




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       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 May 11, 2015 at 9:00 am.

       SO ORDERED.

       ENTER:


                                                  /s/ Harry S. Mattice, Jr._______
                                                 HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT JUDGE




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